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                                                                                     2018 Jan-12 PM 04:02
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION


JESSIE BASCOMB, BARRY ASKINS,                                                PLAINTIFFS
ROBBIE ADAMS, HUSSAM ALHOLWANY,
ROBERTO ARNOLD, ANDREW AYERS,
LEROY BAINES, JOE BATIE, SANDRA
BEALL, KENNETH BELL, JEROME
BELSER, MARY BEVILL, DAVID BINKLEY,
KIMBERLY BLUE, JONATHAN BONNER,                                     CIVIL ACTION NO.
ANGELA BOYD, SHANICA BRADLEY,                                        _______________
WILLIE BRAY, CHRISTOPHER BROWN,
REGINALD BROWN, SANDRA BROWN,                                       JURY DEMANDED
BRAZZIE BROWN, JR., ALFONZO
BRYANT, TASHA BURRELL, JOHN
BUTLER, JERRY BYRD, GEORGE CAHILL,
MICHELLE CASH, FREDRICK CLARKE,
LORI COBB, RONALD COLLINS, WAYNE
COLLINS, SONIA COOK, TERRY COOLEY,
NANCY COSTELLO, DERRICK
COVINGTON, GARY COWLEY, DANIELLE
DANIEL, BRIAN DANNER, LARRY
DAVIDSON, EVITA DAVIS, FREDERICK
DAVIS, MARK DAVIS, SHAMENSKI DAVIS,
CLARK DAWSON, LATASHA DAWSON,
DEMETRIUS DERICO, WAYLAND DIXON,
JAMIE DOBBS, JOHN DRIVER, JERMAINE
DUCKWORTH, RICHARD EATON, GAREY
EDDINS, RASHODA EDMONDS, AMBER
EDWARDS, SOPHIA ELLIS, LILLIE
EUBANKS, JONNIE FARMER, ROBERT
FELICE, CHARLES FERRIS, EDWARD
FITTS, LOU FORT, RONALD FOWLER,
MICKEY FRAMPTON, MICHAEL
FREEMAN, JOHN FULLER, HUGH
GALLAGHER, LESLIE GARDNER,
JERMAINE GARRETT, JANNA GILLIAM,
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LECONYEA GLASKER, ONZELL GOLSON,
WILLIE GOODEN, ROBERT GOODGAME,
ROSEMARY GRAVES, JOHN GRAY,
DETRICK GREENE, KALEB
GREENLEAF,TERRENCE GRUBBS,
CLARENCE HALL, LEFEDRICK
HAMPTON, JOHN HAMPTON, JR.,
KIMBERLY HARGROVE, DONALD
HARRIS, TAMARA HATCHER, JOHN HAY,
COLLEEN HILL, THOMAS HILL, JIMMY
HOOKS, CHARLESSA HOSKIN, FRANK
WILLIAMS, MICHAEL JACKSON,
RECARRDO JACKSON, WILLIE
JACKSON, HICKS JESSIE, ANGELA
JOHNSON, MONICA JOHNSON, TRACY
JOHNSON, COURTNEY JOINER,
ROBERT JOINTER, JAMES JONES,
MERLAKIA JONES, MICHAEL KIENE,
DELILAH KING, LAWANDA LAMELL,
RODERICUS LANIER, SHATAURA LEWIS,
REGINALD MANN, EDWARD ATHERSON,
JENNIFER MAYFIELD, ANQUENETTA
McADAMS, ALFREDA McCLOUD, ASHLEY
McCRACKIN, LISA McCRANEY, DARRELL
McGINNESS, ANTHONY McMILLIAN,
BRANDON MITCHELL, MINDY MITCHELL,
WILLIE MITCHELL, SAO MONTGOMERY,
RICKY MOODY, ALESIA MOODY, ERINNA
MOON, EDWARD MOON, JR., CHARLES
D. MOORE, CHARLES F. MOORE,
DEANTA MOORE, JOY MORA, DUSHAUN
MORROW, GEOFFERY MOSS, JR.,
CHARLES NESBITT, RAVERN NEVELS,
WILLIAM NGIGE, JOSEPH NICOLOSI,
BOBBY NORMAN, JACKIE OGDEN, KEITH
PAGE, YEVETTE PARKER, CHRIS
PASCHAL, OMAR PATINO, RALPH
PATTERSON, RICHARD PHILLIPS,
MARQUEZ PITTMAN, JESSE POLLARD,
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MATTHEW POPE, JAMES POPE, ALAN
PRUITT, ANDREW PRUITT, WILLIAM
PUGH, THEODORE QUARRELS,
MARTHA RADER, MISTY REEVES,
DANIEL REEVES, RODNEY REYNOLDS,
EDWARD RILEY, JR., COY ROBINSON,
JOSHUA RODRIGUEZ, KATRINA
SANDERS, ROSETTA SANKEY, AARON
SAXTON, GARY SELLERS, MARCUS
SHEPHERD, ROBERT SHOLUND, DEBRA
SINGLETON, CHARLES SNEED, TRACY
SMITH, SR., JAIME STEGALL, JEFFERY
STEWART, TIFFANY STURDIVANTS,
SANTWAN SWAIN, EUGENE TAYLOR,
JOYCE THACKER, JOHN THOMAS,
CYNTHIA THOMAS, BRYAN THOMPSON,
BENJAMIN THORNE, SHIRLEY TINGLE,
JACQUELINE TOLBERT, PATRICIA
TOMEI, MARCUS TREADWELL,
TANYA TREADWELL, JAWAUN TUCKER,
CHRIS TURNER, RODNEY VAN ALSTIN,
TAMIKA WASHINGTON, JARVIS
WATKINS, BRIAN WEEKS, ANDRIA
WHISNANT, TIFFANY WHITE, THOMAS
WHITE, ALONZO WILLIAMS, FELECIA
WILLIAMS, MELVIN WILLIAMS,
SHARLENE WILLIAMS,
CHARLES WRIGHT, KIMBERLY
YARBROUGH TORREY YOUNG and
VERONICA CAMPBELL

vs.


EXPRESS COURIER INTERNATIONAL,                                               DEFENDANTS
INC.,
and EMP LSO HOLDING CORPORATION


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                             ORIGINAL COMPLAINT

     COME NOW Plaintiffs Jessie Bascomb, Barry Askins, Robbie Adams,

Hussam Alholwany, Roberto Arnold, Andrew Ayers, Leroy Baines, Joe Batie,

Sandra Beall, Kenneth Bell, Jerome Belser, Mary Bevill, David Binkley,

Kimberly Blue, Jonathan Bonner, Angela Boyd, Shanica Bradley, Willie Bray,

Christopher Brown, Reginald Brown, Sandra Brown, Brazzie Brown, Jr.,

Alfonzo Bryant, Tasha Burrell, John Butler, Jerry Byrd, George Cahill,

Michelle Cash, Fredrick Clarke, Lori Cobb, Ronald Collins, Wayne Collins,

Sonia Cook, Terry Cooley, Nancy Costello, Derrick Covington, Gary Cowley,

Danielle Daniel, Brian Danner, Larry Davidson, Evita Davis, Frederick Davis,

Mark Davis, Shamenski Davis, Clark Dawson, Latasha Dawson, Demetrius

Derico, Wayland Dixon, Jamie Dobbs, John Driver, Jermaine Duckworth,

Richard Eaton, Garey Eddins, Rashoda Edmonds, Amber Edwards, Sophia

Ellis, Lillie Eubanks, Jonnie Farmer, Robert Felice, Charles Ferris, Edward

Fitts, Lou Fort, Ronald Fowler, Mickey Frampton, Michael Freeman, John

Fuller, Hugh Gallagher, Leslie Gardner, Jermaine Garrett, Janna Gilliam,

Leconyea Glasker, Lonzell Golson, Willie Gooden, Robert Goodgame,

Rosemary Graves, John Gray, Detrick Greene, Kaleb Greenleaf, Terrence

Grubbs, Clarence Hall, Lefedrick Hampton, John Hampton, Jr., Kimberly

Hargrove, Donald Harris, Tamara Hatcher, John Hay, Colleen Hill, Thomas
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Hill, Jimmy Hooks, Charlessa Hoskin, Frank Williams, Michael Jackson,

Recarrdo Jackson, Willie Jackson, Hicks Jessie, Angela Johnson, Monica

Johnson, Tracy Johnson, Courtney Joiner, Robert Jointer, James Jones,

Merlakia Jones, Michael Kiene, Delilah King, Lawanda Lamell, Rodericus

Lanier, Shataura Lewis, Reginald Mann, Edward Matherson, Jennifer

Mayfield, Anquenetta McAdams, Alfreda McCloud, Ashley McCrackin, Lisa

McCraney, Darrell McGinness, Anthony McMillian, Brandon Mitchell, Mindy

Mitchell, Willie Mitchell, Sao Montgomery, Ricky Moody, Alesia Moody,

Terinna Moon, Edward Moon, Jr., Charles D. Moore, Charles F. Moore,

Deanta Moore, Joy Mora, Dushaun Morrow, Geoffery Moss, Jr., Charles

Nesbitt, Ravern Nevels, William Ngige, Joseph Nicolosi, Bobby Norman,

Jackie Ogden, Keith Page, Yevette Parker, Chris Paschal, Omar Patino,

Ralph Patterson, Richard Phillips, Marquez Pittman, Jesse Pollard, Matthew

Pope, James Pope, Alan Pruitt, Andrew Pruitt, William Pugh, Theodore

Quarrels, Martha Rader, Misty Reeves, Daniel Reeves, Rodney Reynolds,

Edward Riley, Jr., Coy Robinson, Joshua Rodriguez, Katrina Sanders,

Rosetta Sankey, Aaron Saxton, Gary Sellers, Marcus Shepherd, Robert

Sholund, Debra Singleton, Charles Sneed, Tracy Smith, Sr., Jaime Stegall,

Jeffery Stewart, Tiffany Sturdivants, Santwan Swain, Eugene Taylor, Joyce

Thacker, John Thomas, Cynthia Thomas, Bryan Thompson, Benjamin
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Thorne, Shirley Tingle, Jacqueline Tolbert, Patricia Tomei, Marcus

Treadwell, Tanya Treadwell, Jawaun Tucker, Chris Turner, Rodney Van

Alstin, Tamika Washington, Jarvis Watkins, Brian Weeks, Andria Whisnant,

Tiffany White, Thomas White, Alonzo Williams, Felecia Williams, Melvin

Williams, Sharlene Williams, Charles Wright, Kimberly Yarbrough, Torrey

Young and Veronica Campbell (“Plaintiffs”), by and through their attorney

Daniel Patrick Evans of The Evans Law Firm, P.C., and for their Original

Complaint (“Complaint”) against Defendants Express Courier International,

Inc., and EMP LSO Holding Corporation (hereinafter collectively referred to

as “Defendant”), and in support thereof do hereby state and allege as follows:

                     I.      PRELIMINARY STATEMENTS

      Plaintiffs bring this action under the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (“FLSA”), for declaratory judgment, monetary

damages, liquidated damages, prejudgment interest, and a reasonable

attorney’s fee and costs, as a result of Defendants’ failure to pay Plaintiffs

minimum and overtime wages as required by law.

                       II.    JURISDICTION AND VENUE

      1.    The United States District Court for the Northern District of

Alabama has subject matter jurisdiction over this suit under the provisions of

28 U.S.C. § 1331 because this suit raises federal questions under the FLSA.
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      2.    Defendants conduct business within the State of Alabama,

providing courier/delivery services within the State of Alabama.

      3.    Venue lies properly within this Court under 28 U.S.C. §

1391(b)(1) and (c)(2), because the State of Alabama has personal

jurisdiction over Defendants, and Defendants therefore “reside” in Alabama.

      4.    A substantial part of the acts complained of herein were

committed and had their principal effect against Plaintiffs within the Southern

Division of the Northern District of Alabama; venue is proper in this Court

pursuant to 28 U.S.C. § 1391.

                                  III.    THE PARTIES

      5.    Plaintiff Jessie Bascomb is an individual and resident of the State

of Alabama.

      6.    Plaintiff Barry Askins is an individual and resident of the State of

Alabama.

      7.    Plaintiff Robbie Adams is an individual and resident of the State

of Alabama.

      8.    Plaintiff Hussam Alholwany is an individual and resident of the

State of Alabama.

      9.    Plaintiff Roberto Arnold is an individual and resident of the State

of Alabama.
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     10.   Plaintiff Andrew Ayers is an individual and resident of the State

of Alabama.

     11.   Plaintiff Leroy Baines is an individual and resident of the State of

Alabama.

     12.   Plaintiff Joe Batie is an individual and resident of the State of

Alabama.

     13.   Plaintiff Sandra Beall is an individual and resident of the State of

Alabama.

     14.   Plaintiff Kenneth Bell is an individual and resident of the State of

Alabama.

     15.   Plaintiff Jerome Belser is an individual and resident of the State

of Alabama.

     16.   Plaintiff Mary Bevill is an individual and resident of the State of

Alabama.

     17.   Plaintiff David Binkley is an individual and resident of the State

of Alabama.

     18.   Plaintiff Kimberly Blue is an individual and resident of the State

of Alabama.

     19.   Plaintiff Jonathan Bonner is an individual and resident of the

State of Alabama.
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     20.   Plaintiff Angela Boyd is an individual and resident of the State of

Alabama.

     21.   Plaintiff Shanica Bradley is an individual and resident of the State

of Alabama.

     22.   Plaintiff Willie Bray is an individual and resident of the State of

Alabama.

     23.   Plaintiff Christopher Brown is an individual and resident of the

State of Alabama.

     24.   Plaintiff Reginald Brown is an individual and resident of the State

of Alabama.

     25.   Plaintiff Sandra Brown is an individual and resident of the State

of Alabama.

     26.   Plaintiff Brazzie Brown, Jr. is an individual and resident of the

State of Alabama.

     27.   Plaintiff Alfonzo Bryant is an individual and resident of the State

of Alabama.

     28.   Plaintiff Tasha Burrell is an individual and resident of the State of

Alabama.

     29.   Plaintiff John Butler is an individual and resident of the State of

Alabama.
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     30.   Plaintiff Jerry Byrd is an individual and resident of the State of

Alabama.

     31.   Plaintiff George Cahill is an individual and resident of the State

of Alabama.

     32.   Plaintiff Michelle Cash is an individual and resident of the State

of Ohio.

     33.   Plaintiff Fredrick Clarke is an individual and resident of the State

of Alabama.

     34.   Plaintiff Lori Cobb is an individual and resident of the State of

Alabama.

     35.   Plaintiff Ronald Collins is an individual and resident of the State

of Alabama.

     36.   Plaintiff Wayne Collins is an individual and resident of the State

of Alabama.

     37.   Plaintiff Sonia Cook is an individual and resident of the State of

Alabama.

     38.   Plaintiff Terry Cooley is an individual and resident of the State of

Alabama.

     39.   Plaintiff Nancy Costello is an individual and resident of the State

of Alabama.
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     40.   Plaintiff Derrick Covington is an individual and resident of the

State of Alabama.

     41.   Plaintiff Gary Cowley is an individual and resident of the State of

Alabama.

     42.   Plaintiff Danielle Daniel is an individual and resident of the State

of Alabama.

     43.   Plaintiff Brian Danner is an individual and resident of the State of

Alabama.

     44.   Plaintiff Larry Davidson is an individual and resident of the State

of Alabama.

     45.   Plaintiff Evita Davis is an individual and resident of the State of

Alabama.

     46.   Plaintiff Frederick Davis is an individual and resident of the State

of Alabama.

     47.   Plaintiff Mark Davis is an individual and resident of the State of

Alabama.

     48.   Plaintiff Shamenski Davis is an individual and resident of the

State of Alabama.

     49.   Plaintiff Clark Dawson is an individual and resident of the State

of Alabama.
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     50.   Plaintiff Latasha Dawson is an individual and resident of the

State of Alabama.

     51.   Plaintiff Demetrius Derico is an individual and resident of the

State of Alabama.

     52.   Plaintiff Wayland Dixon is an individual and resident of the State

of Alabama.

     53.   Plaintiff Jamie Dobbs is an individual and resident of the State of

Alabama.

     54.   Plaintiff John Driver is an individual and resident of the State of

Alabama.

     55.   Plaintiff Jermaine Duckworth is an individual and resident of the

State of Alabama.

     56.   Plaintiff Richard Eaton is an individual and resident of the State

of Alabama.

     57.   Plaintiff Garey Eddins is an individual and resident of the State

of Alabama.

     58.   Plaintiff Rashoda Edmonds is an individual and resident of the

State of Alabama.

     59.   Plaintiff Amber Edwards is an individual and resident of the State

of Alabama.
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     60.   Plaintiff Sophia Ellis is an individual and resident of the State of

Alabama.

     61.   Plaintiff Lillie Eubanks is an individual and resident of the State

of Alabama.

     62.   Plaintiff Jonnie Farmer is an individual and resident of the State

of Alabama.

     63.   Plaintiff Robert Felice is an individual and resident of the State of

Alabama.

     64.   Plaintiff Charles Ferris is an individual and resident of the State

of Alabama.

     65.   Plaintiff Edward Fitts is an individual and resident of the State of

Alabama.

     66.   Plaintiff Lou Fort is an individual and resident of the State of

Alabama.

     67.   Plaintiff Ronald Fowler is an individual and resident of the State

of Alabama.

     68.   Plaintiff Mickey Frampton is an individual and resident of the

State of Alabama.

     69.   Plaintiff Michael Freeman is an individual and resident of the

State of Alabama.
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     70.   Plaintiff John Fuller is an individual and resident of the State of

Alabama.

     71.   Plaintiff Hugh Gallagher is an individual and resident of the State

of Alabama.

     72.   Plaintiff Leslie Gardner is an individual and resident of the State

of Alabama.

     73.   Plaintiff Jermaine Garrett is an individual and resident of the

State of Alabama.

     74.   Plaintiff Janna Gilliam is an individual and resident of the State

of Alabama.

     75.   Plaintiff Leconyea Glasker is an individual and resident of the

State of Alabama.

     76.   Plaintiff Lonzell Golson is an individual and resident of the State

of Alabama.

     77.   Plaintiff Willie Gooden is an individual and resident of the State

of Alabama.

     78.   Plaintiff Robert Goodgame is an individual and resident of the

State of Alabama.

     79.   Plaintiff Rosemary Graves is an individual and resident of the

State of Alabama.
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     80.   Plaintiff John Gray is an individual and resident of the State of

Alabama.

     81.   Plaintiff Detrick Greene is an individual and resident of the State

of Alabama.

     82.   Plaintiff Kaleb Greenleaf is an individual and resident of the State

of Alabama.

     83.   Plaintiff Terrence Grubbs is an individual and resident of the

State of Alabama.

     84.   Plaintiff Clarence Hall is an individual and resident of the State of

Alabama.

     85.   Plaintiff Lefedrick Hampton is an individual and resident of the

State of Alabama.

     86.   Plaintiff John Hampton, Jr. is an individual and resident of the

State of Alabama.

     87.   Plaintiff Kimberly Hargrove is an individual and resident of the

State of Alabama.

     88.   Plaintiff Donald Harris is an individual and resident of the State

of Alabama.

     89.   Plaintiff Tamara Hatcher is an individual and resident of the State

of Alabama.
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     90.   Plaintiff John Hay is an individual and resident of the State of

Alabama.

     91.   Plaintiff Colleen Hill is an individual and resident of the State of

Alabama.

     92.   Plaintiff Thomas Hill is an individual and resident of the State of

Alabama.

     93.   Plaintiff Jimmy Hooks is an individual and resident of the State of

Alabama.

     94.   Plaintiff Charlessa Hoskin is an individual and resident of the

State of Alabama.

     95.   Plaintiff Frank Williams is an individual and resident of the State

of Alabama.

     96.   Plaintiff Michael Jackson is an individual and resident of the State

of Alabama.

     97.   Plaintiff Recarrdo Jackson is an individual and resident of the

State of Alabama.

     98.   Plaintiff Willie Jackson is an individual and resident of the State

of Alabama.

     99.   Plaintiff Hicks Jessie is an individual and resident of the State of

Alabama.
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     100. Plaintiff Angela Johnson is an individual and resident of the State

of Alabama.

     101. Plaintiff Monica Johnson is an individual and resident of the State

of Alabama.

     102. Plaintiff Tracy Johnson is an individual and resident of the State

of Alabama.

     103. Plaintiff Courtney Joiner is an individual and resident of the State

of Alabama.

     104. Plaintiff Robert Jointer is an individual and resident of the State

of Alabama.

     105. Plaintiff James Jones is an individual and resident of the State of

Alabama.

     106. Plaintiff Merlakia Jones is an individual and resident of the State

of Alabama.

     107. Plaintiff Michael Kiene is an individual and resident of the State

of Alabama.

     108. Plaintiff Delilah King is an individual and resident of the State of

Alabama.

     109. Plaintiff Lawanda Lamell is an individual and resident of the State

of Alabama.
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     110. Plaintiff Rodericus Lanier is an individual and resident of the

State of Alabama.

     111. Plaintiff Shataura Lewis is an individual and resident of the State

of Alabama.

     112. Plaintiff Reginald Mann is an individual and resident of the State

of Alabama.

     113. Plaintiff Edward Matherson is an individual and resident of the

State of Alabama.

     114. Plaintiff Jennifer Mayfield is an individual and resident of the

State of Alabama.

     115. Plaintiff Anquenetta McAdams is an individual and resident of the

State of Alabama.

     116. Plaintiff Alfreda McCloud is an individual and resident of the State

of Alabama.

     117. Plaintiff Ashley McCrackin is an individual and resident of the

State of Alabama.

     118. Plaintiff Lisa McCraney is an individual and resident of the State

of Alabama.

     119. Plaintiff Darrell McGinness is an individual and resident of the

State of Alabama.
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     120. Plaintiff Anthony McMillian is an individual and resident of the

State of Alabama.

     121. Plaintiff Brandon Mitchell is an individual and resident of the

State of Alabama.

     122. Plaintiff Mindy Mitchell is an individual and resident of the State

of Alabama.

     123. Plaintiff Willie Mitchell is an individual and resident of the State

of Alabama.

     124. Plaintiff Sao Montgomery is an individual and resident of the

State of Alabama.

     125. Plaintiff Ricky Moody is an individual and resident of the State of

Alabama.

     126. Plaintiff Alesia Moody is an individual and resident of the State of

Alabama.

     127. Plaintiff Terinna Moon is an individual and resident of the State

of Alabama.

     128. Plaintiff Edward Moon, Jr. is an individual and resident of the

State of Alabama.

     129. Plaintiff Charles D. Moore is an individual and resident of the

State of Alabama.
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     130. Plaintiff Charles F. Moore is an individual and resident of the

State of Alabama.

     131. Plaintiff Deanta Moore is an individual and resident of the State

of Alabama.

     132. Plaintiff Joy Mora is an individual and resident of the State of

Alabama.

     133. Plaintiff Dushaun Morrow is an individual and resident of the

State of Alabama.

     134. Plaintiff Geoffery Moss, Jr. is an individual and resident of the

State of Alabama.

     135. Plaintiff Charles Nesbitt is an individual and resident of the State

of Alabama.

     136. Plaintiff Ravern Nevels is an individual and resident of the State

of Alabama.

     137. Plaintiff William Ngige is an individual and resident of the State

of Alabama.

     138. Plaintiff Joseph Nicolosi is an individual and resident of the State

of Alabama.

     139. Plaintiff Bobby Norman is an individual and resident of the State

of Alabama.
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     140. Plaintiff Jackie Ogden is an individual and resident of the State

of Alabama.

     141. Plaintiff Keith Page is an individual and resident of the State of

Alabama.

     142. Plaintiff Yevette Parker is an individual and resident of the State

of Alabama.

     143. Plaintiff Chris Paschal is an individual and resident of the State

of Alabama.

     144. Plaintiff Omar Patino is an individual and resident of the State of

Alabama.

     145. Plaintiff Ralph Patterson is an individual and resident of the State

of Alabama.

     146. Plaintiff Richard Phillips is an individual and resident of the State

of Alabama.

     147. Plaintiff Marquez Pittman is an individual and resident of the

State of Alabama.

     148. Plaintiff Jesse Pollard is an individual and resident of the State of

Alabama.

     149. Plaintiff Matthew Pope is an individual and resident of the State

of Alabama.
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     150. Plaintiff James Pope is an individual and resident of the State of

Alabama.

     151. Plaintiff Alan Pruitt is an individual and resident of the State of

Alabama.

     152. Plaintiff Andrew Pruitt is an individual and resident of the State of

Alabama.

     153. Plaintiff William Pugh is an individual and resident of the State of

Alabama.

     154. Plaintiff Theodore Quarrels is an individual and resident of the

State of Alabama.

     155. Plaintiff Martha Rader is an individual and resident of the State

of Alabama.

     156. Plaintiff Misty Reeves is an individual and resident of the State of

Alabama.

     157. Plaintiff Daniel Reeves is an individual and resident of the State

of Alabama.

     158. Plaintiff Rodney Reynolds is an individual and resident of the

State of Alabama.

     159. Plaintiff Edward Riley, Jr. is an individual and resident of the

State of Alabama.
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     160. Plaintiff Coy Robinson is an individual and resident of the State

of Alabama.

     161. Plaintiff Joshua Rodriguez is an individual and resident of the

State of Alabama.

     162. Plaintiff Katrina Sanders is an individual and resident of the State

of Alabama.

     163. Plaintiff Rosetta Sankey is an individual and resident of the State

of Alabama.

     164. Plaintiff Aaron Saxton is an individual and resident of the State

of Alabama.

     165. Plaintiff Gary Sellers is an individual and resident of the State of

Alabama.

     166. Plaintiff Marcus Shepherd is an individual and resident of the

State of Alabama.

     167. Plaintiff Robert Sholund is an individual and resident of the State

of Alabama.

     168. Plaintiff Debra Singleton is an individual and resident of the State

of Alabama.

     169. Plaintiff Charles Sneed is an individual and resident of the State

of Alabama.
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     170. Plaintiff Tracy Smith, Sr. is an individual and resident of the State

of Alabama.

     171. Plaintiff Jaime Stegall is an individual and resident of the State of

Alabama.

     172. Plaintiff Jeffery Stewart is an individual and resident of the State

of Alabama.

     173. Plaintiff Tiffany Sturdivants is an individual and resident of the

State of Alabama.

     174. Plaintiff Santwan Swain is an individual and resident of the State

of Alabama.

     175. Plaintiff Eugene Taylor is an individual and resident of the State

of Alabama.

     176. Plaintiff Joyce Thacker is an individual and resident of the State

of Alabama.

     177. Plaintiff John Thomas is an individual and resident of the State

of Alabama.

     178. Plaintiff Cynthia Thomas is an individual and resident of the State

of Alabama.

     179. Plaintiff Bryan Thompson is an individual and resident of the

State of Alabama.
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     180. Plaintiff Benjamin Thorne is an individual and resident of the

State of Alabama.

     181. Plaintiff Shirley Tingle is an individual and resident of the State

of Alabama.

     182. Plaintiff Jacqueline Tolbert is an individual and resident of the

State of Alabama.

     183. Plaintiff Patricia Tomei is an individual and resident of the State

of Alabama.

     184. Plaintiff Marcus Treadwell is an individual and resident of the

State of Alabama.

     185. Plaintiff Tanya Treadwell is an individual and resident of the State

of Alabama.

     186. Plaintiff Jawaun Tucker is an individual and resident of the State

of Alabama.

     187. Plaintiff Chris Turner is an individual and resident of the State of

Alabama.

     188. Plaintiff Rodney Van Alstin is an individual and resident of the

State of Alabama.

     189. Plaintiff Tamika Washington is an individual and resident of the

State of Alabama.
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     190. Plaintiff Jarvis Watkins is an individual and resident of the State

of Alabama.

     191. Plaintiff Brian Weeks is an individual and resident of the State of

Alabama.

     192. Plaintiff Andria Whisnant is an individual and resident of the State

of Alabama.

     193. Plaintiff Tiffany White is an individual and resident of the State of

Alabama.

     194. Plaintiff Thomas White is an individual and resident of the State

of Alabama.

     195. Plaintiff Alonzo Williams is an individual and resident of the State

of Alabama.

     196. Plaintiff Felecia Williams is an individual and resident of the State

of Alabama.

     197. Plaintiff Melvin Williams is an individual and resident of the State

of Alabama.

     198. Plaintiff Sharlene Williams is an individual and resident of the

State of Alabama.

     199. Plaintiff Charles Wright is an individual and resident of the State

of Alabama.
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      200. Plaintiff Kimberly Yarbrough is an individual and resident of the

State of Alabama.

      201. Plaintiff Torrey Young is an individual and resident of the State

of Alabama.

      202. Plaintiff Veronica Campbell is an individual and resident of the

State of Alabama.

      203. At all times relevant to this Complaint, each Plaintiff performed

courier services for Defendants within the State of Alabama.

      204. Defendant Express Courier International, Inc. (“Express”) is a

foreign, for-profit corporation, registered to conduct business within the State

of Alabama.

      205. Express has designated C T CORPORATION SYSTEM at 2

NORTH JACKSON STREET, SUITE 605 MONTGOMERY, AL 36104, to

accept service on its behalf.

      206. Defendant EMP LSO Holding Corporation is a foreign, for-profit

corporation, whose principal place of business is 3060 Peachtree Road NW,

Suite 360, Atlanta, Georgia 30305.

      207. Defendants provide on-demand and scheduled courier services.




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      208. Defendants’ primary business purpose is to provide courier/

delivery services, and Defendants engages couriers/drivers to accomplish

this goal.

      209. Courier/delivery services are at least one integral part of

Defendants’ business.

      210. Defendants’ annual gross volume of sales made or business

done was not less than $500,000.00 (exclusive of excise taxes at the retail

level that are separately stated) during each of the three calendar years

preceding the filing of this Complaint.

      Defendants have at least two employees that handle, sell, or otherwise

work on goods or materials that have been moved in or produced for

interstate commerce, including, but not limited to, medical supplies and bio-

materials, office supplies, auto parts, manufactured goods, or office

equipment for the benefit of Defendants.

                        IV.     FACTUAL ALLEGATIONS

      211. Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section.

      212. To carry out Defendants’ courier/delivery services, Defendants

contracted with couriers/drivers (referred to herein as “couriers” or “drivers”)

during the relevant time.
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       213. Each Plaintiff performed the basic duties of a courier during the

relevant time.

       214. The basic duties of a courier include transporting and delivering

packages to Defendants’ customers.

       215. As workers for Defendants, each Plaintiff was economically

dependent on Defendants’ business and each Plaintiff’s work was an integral

part of Defendants’ courier enterprise.

       216. At all times relevant herein, Defendants set Plaintiffs’

compensation and it determined how Plaintiffs’ work was performed by

controlling all meaningful aspects of its working relationship with each

Plaintiff.

       217. To support its delivery business, Defendants maintained a

hierarchy of corporate level employees to oversee numerous field

“branches,” which were located throughout the southeastern United States

and were divided into regions.

       218. At the corporate level, Defendants maintained an operations

department, a compliance department, an accounting department, a

marketing department, an information-technology department, and an

insurance department.


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      219. Defendants’ compliance department was responsible for

determining what was required to conduct Defendants’ courier services in

compliance with applicable laws and communicating those requirements to

Defendants’ branches.

      220. The compliance department was in charge of preparation,

maintenance and use of Defendants’ standard Agreement.

      221. Defendants’ compliance department was also responsible for

processing all applications to become drivers and vetting them for minimum

requirements.

      222. Defendants’ corporate office had a Director of Business Analytics

whose job was to help the branch run more efficiently or perform research to

improve business operations.

      223. Defendants also employed a Director of Operations to support

branches and sales by mining data and running reports for the company for

maximizing profits.

      224. Defendants also maintained a corporate-level dispatch office,

with an attachment of “Central Ops Specialists,” whose job was to monitor

customer requirements and make sure customer expectations were met.

      225. Each branch had a senior employee in charge of the branch and

drivers.
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      226. Branch Managers were responsible to ensure that Plaintiffs were

operating under applicable company, federal and state rules, regulations and

operating procedures.

      227. Branch Managers were also responsible to ensure that

customers were receiving quality delivery services and that deliveries were

made on time.

      228. Branch Managers were required to facilitate branch standards

reporting to Defendants’ corporate office regarding how satisfied customers

were with drivers’ delivery performance.

      229. Defendants required Branch Managers to have management

skills that would allow them to ensure that drivers delivered packages on time

and that customers were satisfied and to bring in new customers or sell

services.

      230. Branch Managers or whoever else was in charge of the facility

had the authority to terminate Plaintiffs.

      231. Branch Managers were also tasked with managing the branch

within budgeted guidelines from Defendants’ corporate office and the

parameters set by the Regional Director.




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      232. Branch Managers were also responsible for maintaining a

positive and safe working environment for individuals working at the branch,

which included drivers.

      233. Branch Managers were in charge of assigning the routes to

drivers.

      234. Branch Managers, not drivers, were responsible for setting long

and short-term business objectives.

      235. Defendants treated each Plaintiff as an “independent contractor”

for purposes of the FLSA.

      236. Defendants required each and every potential courier to enter

into a standard agreement, which Defendants called an “independent

contractor agreement” or “owner-operator agreement.”

      237. No Plaintiffs were involved in drafting the terms of Defendants’

standard agreement.

      238. Defendants required each driver to satisfy whatever needs and

requirements Defendants’ customers had.

      239. All drivers were hired to work for Defendants for an indefinite

period of time.

      240. Defendants expected each Plaintiff to wear a photo identification

badge.
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      241. Plaintiffs were expected to follow Defendants’ dress code and

guidelines.

      242. Defendants leased warehouses in which drivers picked up

parcels for delivery.

      243. No drivers shared in Defendants’ profits.

      244. No drivers shared in Defendants’ losses.

      245. Defendants paid drivers through a combination of piece rates,

route rates or delivery rates.

      246. Defendants entered into contracts with their customers, and no

drivers signed contracts with Defendants’ customers.

      247. Defendants set prices to its customers for certain types of

packages or delivery routes without driver input or negotiation.

      248. Defendants determined where to locate Defendants’ branches

and offices without driver input.

      249. Defendants made decisions on advertising Defendants’ business

without driver input.

      250. Plaintiffs      did    not     advertise       themselves        as        independent

businesses.

      251. Defendants made decisions on what new business to pursue or

take without driver input.
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      252. Drivers did not negotiate contracts or prices with Defendants’

customers.

      253. Defendants expected drivers to follow Defendants’ policies

regarding how to track deliveries.

      254. Defendants’ standard agreement required drivers to obtain and

maintain certain types of insurance.

      255. Defendants’ standard agreement required drivers to use

communication equipment that was compatible with Defendants’ operating

system.

      256. Defendants’ standard agreement gave Defendants the sole

discretion to investigate, adjudicate and charge drivers for delays, shortages,

mis-deliveries, and claims related to lost, damaged or contaminated loads.

      257. Defendants’ standard agreement required drivers to obtain

written consent from Defendants before operating their vehicles for another

motor carrier.

      258. If a customer had a complaint about any driver, the customer was

supposed to complain to someone at the branch or to corporate

headquarters, not to the driver.

      259. Defendants generally did not pay any drivers any overtime

premium for hours that they worked over forty hours per week.
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      260. If any driver worked more than forty hours per week, Defendants’

policy was not to pay that driver an overtime premium of one and one half

times the driver’s regular rate for the hours over forty.

      261. Defendants had a general practice keeping no contemporaneous

records of time that drivers performed courier/delivery services on

Defendants’ behalf.

      262. After deducting for expenses related to the operation of at least

some Plaintiffs’ vehicles in the course of performing job duties for

Defendants, some Plaintiffs’ pay regularly fell below the minimum wages

required by the FLSA.

      263. Defendants knew or should have known that the job duties of

Plaintiffs required Plaintiffs to work hours in excess of forty per week, yet

Defendants failed and refused to compensate Plaintiffs for their work as

required by the FLSA.

      264. At all times relevant hereto, Defendants were aware of the

minimum wage and overtime requirements of the FLSA.

      265. Defendants purposefully and knowingly classified drivers as

“independent contractors.”




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                              V. CAUSE OF ACTION
                    (Individual Claims for FLSA Violations)

      266. Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

      267. 29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to

forty (40) in one week and to pay one and one-half times regular wages for

all hours worked over forty (40) hours in a week, unless an employee meets

certain exemption requirements of 29 U.S.C. § 213 and all accompanying

Department of Labor regulations.

      268. Defendants            misclassified        all    Plaintiffs      as        independent

contractors.

      269. The costs that Plaintiffs incurred, including, but not limited to, use

of their own vehicles, for the benefit of Defendants, caused some Plaintiffs’

free and clear pay to fall below minimum wages.

      270. Defendants also unlawfully refrained from paying Plaintiffs an

overtime premium for hours over forty per week.

      271. Defendants’ failure to pay each Plaintiff all minimum and

overtime wages owed and failure to reimburse Plaintiff’s work-related vehicle

expenses was willful.

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      272. By reason of the unlawful acts alleged herein, Defendants are

liable to each Plaintiff for monetary damages, liquidated damages, and costs,

including reasonable attorneys’ fees, for all violations that occurred within the

three (3) years prior to the filing of this Complaint.

                           VI. PRAYER FOR RELIEF

      WHEREFORE,            PREMISES             CONSIDERED,              Plaintiffs   Jessie

Bascomb, Barry Askins, Robbie Adams, Hussam Alholwany, Roberto

Arnold, Andrew Ayers, Leroy Baines, Joe Batie, Sandra Beall, Kenneth Bell,

Jerome Belser, Mary Bevill, David Binkley, Kimberly Blue, Jonathan Bonner,

Angela Boyd, Shanica Bradley, Willie Bray, Christopher Brown, Reginald

Brown, Sandra Brown, Brazzie Brown, Jr., Alfonzo Bryant, Tasha Burrell,

John Butler, Jerry Byrd, George Cahill, Michelle Cash, Fredrick Clarke, Lori

Cobb, Ronald Collins, Wayne Collins, Sonia Cook, Terry Cooley, Nancy

Costello, Derrick Covington, Gary Cowley, Danielle Daniel, Brian Danner,

Larry Davidson, Evita Davis, Frederick Davis, Mark Davis, Shamenski Davis,

Clark Dawson, Latasha Dawson, Demetrius Derico, Wayland Dixon, Jamie

Dobbs, John Driver, Jermaine Duckworth, Richard Eaton, Garey Eddins,

Rashoda Edmonds, Amber Edwards, Sophia Ellis, Lillie Eubanks, Jonnie

Farmer, Robert Felice, Charles Ferris, Edward Fitts, Lou Fort, Ronald

Fowler, Mickey Frampton, Michael Freeman, John Fuller, Hugh Gallagher,
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Leslie Gardner, Jermaine Garrett, Janna Gilliam, Leconyea Glasker, Lonzell

Golson, Willie Gooden, Robert Goodgame, Rosemary Graves, John Gray,

Detrick Greene, Kaleb Greenleaf, Terrence Grubbs, Clarence Hall, Lefedrick

Hampton, John Hampton, Jr., Kimberly Hargrove, Donald Harris, Tamara

Hatcher, John Hay, Colleen Hill, Thomas Hill, Jimmy Hooks, Charlessa

Hoskin, Frank Williams, Michael Jackson, Recarrdo Jackson, Willie Jackson,

Hicks Jessie, Angela Johnson, Monica Johnson, Tracy Johnson, Courtney

Joiner, Robert Jointer, James Jones, Merlakia Jones, Michael Kiene, Delilah

King, Lawanda Lamell, Rodericus Lanier, Shataura Lewis, Reginald Mann,

Edward Matherson, Jennifer Mayfield, Anquenetta McAdams, Alfreda

McCloud, Ashley McCrackin, Lisa McCraney, Darrell McGinness, Anthony

McMillian,   Brandon       Mitchell,      Mindy      Mitchell,      Willie     Mitchell,   Sao

Montgomery, Ricky Moody, Alesia Moody, Terinna Moon, Edward Moon, Jr.,

Charles D. Moore, Charles F. Moore, Deanta Moore, Joy Mora, Dushaun

Morrow, Geoffery Moss, Jr., Charles Nesbitt, Ravern Nevels, William Ngige,

Joseph Nicolosi, Bobby Norman, Jackie Ogden, Keith Page, Yevette Parker,

Chris Paschal, Omar Patino, Ralph Patterson, Richard Phillips, Marquez

Pittman, Jesse Pollard, Matthew Pope, James Pope, Alan Pruitt, Andrew

Pruitt, William Pugh, Theodore Quarrels, Martha Rader, Misty Reeves,

Daniel Reeves, Rodney Reynolds, Edward Riley, Jr., Coy Robinson, Joshua
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Rodriguez, Katrina Sanders, Rosetta Sankey, Aaron Saxton, Gary Sellers,

Marcus Shepherd, Robert Sholund, Debra Singleton, Charles Sneed, Tracy

Smith, Sr., Jaime Stegall, Jeffery Stewart, Tiffany Sturdivants, Santwan

Swain, Eugene Taylor, Joyce Thacker, John Thomas, Cynthia Thomas,

Bryan Thompson, Benjamin Thorne, Shirley Tingle, Jacqueline Tolbert,

Patricia Tomei, Marcus Treadwell, Tanya Treadwell, Jawaun Tucker, Chris

Turner, Rodney Van Alstin, Tamika Washington, Jarvis Watkins, Brian

Weeks, Andria Whisnant, Tiffany White, Thomas White, Alonzo Williams,

Felecia Williams, Melvin Williams, Sharlene Williams, Charles Wright,

Kimberly Yarbrough, Torrey Young and Veronica Campbell, respectfully pray

for declaratory relief and damages as follows:

      A.    That each Defendant be summoned to appear and answer

herein;

      B.    That each Defendant be required to account to Plaintiffs and the

Court for all of the hours worked by Plaintiffs and all monies paid to them;

      C.    A declaratory judgment that Defendants’ practices alleged herein

violate the FLSA and attendant regulations;

      D.    Judgment for damages for all unpaid minimum wages and

overtime compensation under the FLSA and attendant regulations;


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      E.    Judgment for liquidated damages pursuant to the same laws in

an amount equal to all unpaid minimum wages and overtime compensation

owed to Plaintiffs during the applicable statutory period;

      F.    An order directing Defendants to pay Plaintiffs prejudgment

interest, reasonable attorney’s fees and all costs connected with this action;

      G.    A trial by jury; and

      H.    Such other and further relief as this Court may deem just and

proper.

                                                   RESPECTFULLY SUBMITTED,



                                                   /s Daniel Patrick Evans
                                                   Daniel Patrick Evans
                                                   ASB-3209-R67G
                                                   THE EVANS LAW FIRM, P.C.
                                                   Attorney for the Plaintiffs
                                                   1736 Oxmoor Road
                                                   Birmingham, Alabama 35209
                                                   Telephone: 205-870-1970
                                                   Facsimile: 205-870-7763
                                                   dpevans@evanslawpc.com

                                        JURY DEMAND

                PLAINTIFFS DEMAND TRIAL BY STRUCK JURY


Plaintiffs’ addresses:

c/o The Evans Law Firm, P.C.
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PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL:

Defendants’ addresses:

Express Courier International, Inc.
c/o C T CORPORATION SYSTEM
2 North Jackson Street, Suite 605
Montgomery, AL 35104

EMP LSO Holding Corporation
Serve: J.W. Ransom James, Registered Agent
One Buckhead Plaza
3060 Peachtree Road NW, Suite 360
Atlanta, Georgia 30305




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